244 F.2d 716
    PANEL PRODUCTS, Inc., a Corporation, Appellant,v.TECHBUILT, INC., a Corporation.
    No. 15696.
    United States Court of Appeals Eighth Circuit.
    February 5, 1957.
    
      Appeal from United States District Court, District of Minnesota.
      Philip Stringer, Arthur J. Donnelly and R. Paul Sharood, St. Paul, Minn., for appellant.
      John G. Robertson and Kenneth W. Green, St. Paul, Minn., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed on dismissal of appeal filed by appellant.
    
    